        Case 4:22-cv-00212-MW-MJF Document 4 Filed 06/15/22 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

B.T.,

              Plaintiff,

v.                                           Case No.: 4:22-cv-00212-MW-MJF

Simone Marstiller, in her official
capacity as Secretary of the Florida
Agency for Health Care Administration,

          Defendant.
__________________________________/

                    NOTICE OF APPEARANCE OF COUNSEL

        The State of Florida, Agency for Health Care Administration, hereby gives

notice of the appearance of counsel, Andrew T. Sheeran. Copies of all court papers

and correspondence should be mailed to the undersigned at the address below.

        Respectfully submitted this 15th day of June, 2022.

                                JOSEFINA M. TAMAYO, GENERAL
                                COUNSEL, AGENCY FOR HEALTH
                                CARE ADMINISTRATION

                                /s/ Andrew T. Sheeran
                                ANDREW T. SHEERAN
                                Acting Deputy General Counsel
                                Chief Litigation Counsel
                                Florida Bar I.D. No. 0030599
                                Andrew.Sheeran@ahca.myflorida.com
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      Case 4:22-cv-00212-MW-MJF Document 4 Filed 06/15/22 Page 2 of 2




                                Telephone: (850) 412-3670
                                Facsimile: (850) 921-0158

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 15th day of June, 2022 a true copy of the

foregoing has been filed with the Court utilizing its CM/ECF system, which will

transmit a notice of electronic filing to all plaintiff’s and defendant’s counsel of

record registered with the Court for that purpose.



                                /s/ Andrew T. Sheeran
                                ANDREW T. SHEERAN
